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5                            UNITED STATES DISTRICT COURT

6                            EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,                No.    2: 15-cr-00190-GEB
9                  Plaintiff,                 ORDER TO SHOW CAUSE WHY THE
                                              SEALED REDACTED FORENSIC
10         v.                                 EVALUATION OF DEFENDANT LARRY
11                                            TODT SHOULD NOT BE FILED ON THE
     LARRY TODT,
                                              PUBLIC DOCKET
12                 Defendant.
13
                  The United States of America and Defendant Larry Todt
14
     shall show cause (“OSC”) as soon as practical why the below
15
     referenced    redacted         version   of    the   Forensic   Evaluation    of
16
     Defendant Larry Todt dated June 7, 2018, which was prepared by
17
     the Federal Bureau of Prisons Metropolitan Detention Center in
18
     Los Angeles, California (“June 7 Forensic Evaluation”), should
19
     not   be   filed   on    the    public   docket.     The   referenced   redacted
20
     Forensic Evaluation shall be filed under seal and described in
21
     the docket text as “Defendant Larry Todt’s Sealed Redacted June 7
22
     Forensic Evaluation.”            Further, Defendant Larry Todt’s “Sealed
23
     Redacted June 7 Evaluation” shall only be served on the United
24
     States Attorney and Mr. Todt’s attorney, and the June 7 Forensic
25
     Evaluation shall be served on the United States Probation Office
26
     in this division of the district.
27
                 The psychological evaluation of Mr. Todt was ordered
28
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1    during a March 2, 2018 proceeding concerning why the presentence

2    report in this case for Defendant Todt had not yet been prepared.

3    Mr.   Todt’s   attorney   explained         that    the   preparation        of     the

4    presentence    report   was   delayed       because    “Larry      Todt    wishes   --

5    Larry Allen wishes to represent -- wishes to have his status

6    changed to pro per . . . .”         When the district judge discussed

7    the representation issue with Mr. Todt, Mr. Todt stated in part:

8              I do not desire to have any representation,
               sir. I -- I do not consent to [attorney] Mr.
9              Lawley representing me as a private citizen
               and a civilian. I do not consent to represent
10             myself. I've never -- it's never been my
               intention.    I've never consented to this
11             court to represent myself.       I stand in
               propria persona. I wish to stand before the
12             court pro per, in propria persona.     That's
               always been my -- your Honor, I would ask to
13             proceed in pro per . . . .
14   Unofficial Transcript of March 2, 2018 Proceeding.

15             The following portions of the record shed light on the

16   representation issue and why Mr. Todt was sent to the Bureau of

17   Prisons for a mental competency evaluation:

18             THE COURT: [] I'm going to ask you a question
               because part of your response to the question
19             I've already asked you is not clear.      You
               authorized me to appoint Mr. Lawley to
20             represent you at a point during the trial.
               Do you remember doing that?
21
               MR. TODT: I would         like       to     clear   up    that
22             confusion, sir.
23             THE COURT: Are you telling me -- are you
               telling me that you did not agree to allow
24             Mr. Lawley to represent you during the trial?
25             MR. TODT: Sir, I would like to withdraw that
               request to allow Mr. Lawley to represent me.
26
               THE COURT: When did you decide, if you know,
27             to withdraw the request to have Mr. Lawley to
               represent you as your attorney?
28
                                             2
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1             MR. TODT: Prior to my meeting with Mr. Lawley
              when we were supposed to talk to the
2             probation officer . . . .

3             THE COURT: Mr. Allen, what does pro per mean
              to you?
4
              MR. TODT: In person without representation of
5             an attorney.

6             THE COURT:      It means         that   the    person
              represents him or herself.
7
              MR. TODT: No, sir. It means that a person
8             stands   before   the   court   in   a   non-
              representative capacity and only as a witness
9             to the proceedings.

10            THE COURT: Well, that doesn't make sense. I
              don't know what that means.       It's not
11            logical.

12            MR. TODT: What I intended to say, sir, is
              that I do not allow anyone to speak on behalf
13            of Larry Todt. I am the authorized agent for
              Mr. Todt.    Mr. Todt, the defendant, is a
14            fictitious legal person whose name is written
              in all caps. I am a private citizen. If I
15            believe that some legal response is required
              on behalf of Mr. Todt, I will authorize
16            myself to respond.

17            THE COURT: You're a private citizen?

18            MR. TODT: Yes, sir.

19            THE COURT: What's your name?

20            MR. TODT: My name is -- my given name is
              Larry Allen of the lawful house of Todt.
21
              THE COURT: And what do you mean by the lawful
22            house of Todt?

23            MR. TODT: The name Todt I inherited from my
              father. My given name was given to me by my
24            mother.

25            THE COURT: What name was given to you by your
              mother?
26
              MR. TODT: Larry Allen.
27
              THE COURT: You just mentioned Todt.
28
                                        3
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1             MR. TODT: That is a family name. I could not
              be given a name that already existed, sir.
2             That name was always a family name.
              THE COURT: [Is it] your family?
3
              MR. TODT: It was not my family until I was --
4             I came into the world on May 9th, 1952.

5             THE COURT: When you came into the world on
              May 9th, 1952, were you in the Todt family?
6
              MR. TODT: I was in the Southeast Missouri
7             Hospital.

8             THE COURT: Was your father's last name Todt?

9             MR. TODT: No, sir. My father does not have a
              last name.     He has a family name. Only
10            corporations have last names, sir.

11            THE COURT:     What   was       your   father's   family
              name?
12
              MR. TODT: Todt.
13
              THE COURT: What was your mother's family
14            name?

15            MR. TODT: Moore.

16            THE COURT: Did your mother always go by the
              family name Moore?
17
              MR. TODT: Until -- I can't answer that, sir.
18            I'm not quite sure.

19            THE COURT: Did she ever go by the family name
              Todt?
20
              MR. TODT: She may have.
21
              THE COURT: You don't know . . .
22
              MR. TODT: I don't know what her intention
23            was, sir . . .

24            THE COURT: [] If I allow you to proceed pro
              per, who are you representing?
25
              MR. TODT: I'm not representing anyone, sir. I
26            would be here in a capacity as the agent --
              Larry Todt is –
27
              THE COURT: I think you may be -- I think you
28            may be manipulating the proceedings or else
                                          4
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1                  you need to be evaluated and so –

2                  MR. TODT: Sir.

3                  THE COURT: No. I think I'm going to send you
                   to be evaluated for competency.
4
                   MR. TODT: I don't accept your offer.
5
                   THE COURT: Well, you don't have to. You're
6                  going because if you are competent and are
                   manipulating the proceedings as I believe you
7                  are, that may have a significant bearing on
                   sentencing.   And you have done this before.
8                  So I'm sending you to be evaluated        for
                   competency.
9
     Id.
10
                   The     psychologist’s       following       opinions        and      other
11
     information     in    the    redacted    June    7     Forensic       Evaluation    favor
12
     filling the June 7 Forensic Evaluation on the public docket:
13
                   Although some of Mr. Todt’s writings and
14                 verbal statements may seem illogical and
                   ‘crazy,’ when viewed in the context of the
15                 FOTL/sovereign citizen ideologies, they are
                   not. Although the beliefs of the [Freeman on
16                 the Land (FOLT)]/sovereign citizen may sound
                   bizarre to the average person, they are
17                 logically organized within their own belief
                   system.   Understanding the Freeman on the
18                 Land/sovereign citizen movements and their
                   language is similar to learning a foreign
19                 language.

20   Sealed Forensic Evaluation of Defendant Larry Todt at 11 ¶ 4, ECF

21   No. 387.

22                 Although      Forensic     Evaluations       are    often        sealed   “a

23   sufficiently compelling interest in [such] sealing” must be shown

24   to justify sealing other than the proposed redactions.                             United

25   States   v.    King,     No.   10   CR   122    JGK,    2012     WL    2196674,    at   *2

26   (S.D.N.Y.      June    15,     2012).      The       redacted     June     7     Forensic

27   Evaluation could bear on the sentencing issues, and does not

28   appear to contain private matters that should be sealed.                           United
                                               5
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1    States   v.    Sattar,    471       F.    Supp.    2d     380,   388   (S.D.N.Y.   2006)

2    (indicating that when applying the presumptive common law right

3    of access to a mental health document that could influence a

4    judge's sentencing decision, an evaluation is involved concerning

5    whether "the interests of personal privacy . . . are sufficiently

6    compelling to overcome the presumption of access"); United States

7    v. Kaczynski, 154 F.3d 930, 932 (9th Cir. 1998)(discussing the

8    need for “the district court [to] properly balance[] the public's

9    legitimate interest in access to [a psychiatric] report, that is,

10   its interest in obtaining information bearing on the workings of

11   the   criminal       justice    system,       with      the   countervailing    privacy

12   interests” asserted by Defendant).

13                 Even     where    a        measure     of    secrecy     is   appropriate

14   regarding information in a mental health evaluation document, a

15   "guiding principle . . . is that as much information as possible

16   should remain accessible to the public and no more should be

17   sealed than absolutely necessary."                   Lahrichi v. Lumera Corp., No.

18   C04-2124C, 2007 WL 1521222, at *2 (W.D. Wash. May 22, 2007);

19   United States v. Bus. of Custer Battlefield Museum & Store, 658

20   F.3d 1188, 1195 n.5 (9th Cir. 2011) (considering redaction as an
21   alternative to denying access altogether).

22                 Dated:    June 20, 2018

23

24

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